Case 3:24-cv-00777-B-BK Document12 Filed 04/10/24 Page1of1i PagelD 110

UNITED STATES DISTRICTU COURT
FOR THE
NORTHERN DISTRICT OF TEXAS

CL ABOR AND MICHEALA ABOR, SUI JURIS
V. CIVIL ACTION NO. 3:24-CV-0777-B
THUY FRAZIER, MCCARTHY HOLTHUS, LLP,

PLANET HOME LENDING LLC AND

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AUCTION.COM, LLC §

RETURN OF SERVICE

Received on: April 1, 2024. at 7:31 o'clock P. M.

A Summons in a Civil Action, Demand for Supplemental Pleading 14.4 Million
Dollar Civil Lawsuit for Non-Judicial Wrongful Foreclosure Breach
Of Contract, Exhibits A,B,C, Notice of LIS Pendens

Executed on: April 4. 2024. at 10:50 o’clock A.M.

Executed at: 6721 Southpoint Dr., Dallas, TX_75248 within the county of Dallas by delivering to
the within named, THUY FRAZIER, in person, a true copy of the above specified civil process
having first endorsed on such copy the date of delivery.

1 am over the age of (18) eighteen years, not a party to this case. nor am I related to, employed by, or otherwise connected to any
party or any party's attorney in this case: and | have no interest in the outcome of the above numbered suit | attest the foregoing
instrument has been executed by me in this case pursuant to the Texas Rules of Civil Procedure, and that | am personally acquainted
with the facts stated herein and declare under penalty of perjury the foregoing is true and correct.

Sworn to

Stephen N¥ . PSC2444, Ap. 12624

VERIFICATION

STATE OF TEXAS
COUNTY OF DENTON

Before me, a notary public, on this day personally appeared the above-named authorized person, known to me to be the person whose
name is subscribed to the foregoing document and, being by me first duly sworn, declared that the statements therein contained are

true and correct. Given under my hand and seal on this the 4thyday of April 2024. Ta f>
— ——
CATHY TROUTZ

ae Public, State of Texas ae Public
= Comm. Expires 01-09-2027
& Notery ID 125961638

LCT

